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17 [Additional Counsel for the Parties Listed on Next Page]

18                               UNITED STATES DISTRICT COURT

19            NORTHERN DISTRICT OF CALIFORNIA, SAN FRANCISCO DIVISION

20 PAULA L. BLAIR, ANDREA ROBINSON,                  CASE NO. 3:17-cv-02335-WHA
   and FALECHIA A. HARRIS, individually and
21 on behalf of all others similarly situated,       STIPULATION AND [PROPOSED]
                                                     ORDER REGARDING BRIEFING
22                 Plaintiffs,                       SCHEDULES AND HEARING DATES
                                                     FOR MOTION FOR CLASS
23 vs.                                               CERTIFICATION AND MOTION FOR
                                                     PARTIAL SUMMARY JUDGMENT
24
   RENT-A-CENTER, INC., a Delaware                   Judge:      Hon. William Alsup
25 corporation; RENT-A-CENTER WEST, INC.,            Trial Date: January 14, 2019
   a Delaware corporation; and DOES 1-50,
26 inclusive,

27                 Defendants.
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     STIPULATION AND [PROPOSED] ORDER                                   Case No. 3:17-cv-02335-WHA
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     STIPULATION AND [PROPOSED] ORDER                        Case No. 3:17-cv-02335-WHA
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 1          Through their respective counsel, plaintiffs Paula L. Blair, Andrea Robinson and Falechia

 2 Harris (collectively, “Plaintiffs”) and defendants Rent-A-Center, Inc. and Rent-A-Center West, Inc.

 3 (collectively, “Defendants”) request that (1) the hearing date for Defendants’ Motion for Partial

 4 Summary Judgment (Dkt. 118) be continued to August 23, 2018, with a consolidated briefing

 5 schedule as set forth below for that motion as well as for Plaintiffs’ anticipated Cross-Motion for

 6 Partial Summary Judgment; (2) the deadline for Plaintiffs to file their reply in support of the Motion

 7 for Class Certification be extended by one week, to July 12, 2018; and (3) the hearing on the Motion

 8 for Class Certification be set for August 23, 2018, to coincide with the proposed hearing date for

 9 the cross-motions for summary judgment.

10                                              STIPULATION

11          WHEREAS, on June 14, 2018, Defendants filed a Motion for Partial Summary Judgment
12 (Dkt. 118), which is currently set for hearing on July 26, 2018 (Dkt. 121).

13          WHEREAS, having discussed the fact that Plaintiffs intend to file a Cross-Motion for
14 Partial Summary Judgment addressing similar and/or related legal issues, the parties believe it

15 would be most efficient to set a single hearing date for the cross-motions of August 23, 2018, and

16 to set a consolidated briefing schedule as set forth below.

17          WHEREAS, on June 14, 2018, Defendants also filed their Opposition to Plaintiffs’ Motion
18 for Class Certification, which is also currently set for hearing on July 26, 2018 (Dkt. 122).

19          WHEREAS, counsel have discussed the fact that Plaintiffs intend to depose the three experts
20 whose declarations were submitted by Defendants with their Opposition to the Motion for Class

21 Certification, and counsel have agreed to a one-week extension of the time for Plaintiffs to file their

22 reply in support of the Motion for Class Certification, to July 12, 2018.

23          WHEREAS, the parties believe it would be most efficient for the Summary Judgment and
24 Class Certification motions to be heard and decided together, Defendants have requested that the

25 hearing on Plaintiffs’ Motion for Class Certification be scheduled for August 23, 2018, to coincide

26 with the proposed hearing date for cross-motions for partial summary judgment, described above,

27 and Plaintiffs have no objection to that scheduling request if it is acceptable to the Court (otherwise,

28 the parties are available for a hearing on the motion for class certification on the current date of July
                                                      1
     STIPULATION AND [PROPOSED] ORDER                                           Case No. 3:17-cv-02335-WHA
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 1 26, 2018).

 2          NOW, THEREFORE, the parties respectfully request that the Court establish the following

 3 schedule:

 4                 ●        July 12, 2018 – Deadline for Plaintiffs to file their reply in support of the

 5 Motion for Class Certification;

 6                 ●        July 19, 2018 – Deadline for Plaintiffs to file in a single brief of 25 pages or

 7 less their Cross-Motion for Partial Summary Judgment and opposition to Defendants’ Motion for

 8 Partial Summary Judgment;

 9                 ●        August 2, 2018 – Deadline for Defendants to file in a single brief of 25

10 pages or less their opposition to Plaintiffs’ Cross-Motion for Partial Summary Judgment and their

11 reply in support of Defendants’ Motion for Partial Summary Judgment;

12                 ●        August 9, 2018 – Deadline for Plaintiffs to file their reply in support of

13 Cross-Motion for Partial Summary Judgment; and

14                 ●        August 23, 2018 – Hearing on Motion for Class Certification and on Cross-

15 Motions for Partial Summary Judgment.

16          IT IS SO STIPULATED.

17 Dated: June 19, 2018                         DOSTART HANNINK & COVENEY LLP

18
                                                /s/ Zach P. Dostart
19
                                                ZACH P. DOSTART
20                                              Attorneys for Plaintiffs

21
     Dated: June 19, 2018                       DECHERT LLP
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23                                              /s/ Christina G. Sarchio
24                                              CHRISTINA G. SARCHIO
                                                Attorneys for Defendants
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     STIPULATION AND [PROPOSED] ORDER                                            Case No. 3:17-cv-02335-WHA
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 1                                                ORDER

 2         Having reviewed and considered the foregoing Stipulation, and finding good cause,

 3         IT IS HEREBY ORDERED that following schedule is entered:

 4                 ●      Plaintiffs shall file their reply in support of the Motion for Class

 5 Certification on or before July 12, 2018;

 6                 ●      Plaintiffs shall file in a single brief of 25 pages or less their Cross-Motion

 7 for Partial Summary Judgment and opposition to Defendants’ Motion for Partial Summary

 8 Judgment on or before July 19, 2018;

 9                 ●      Defendants shall file in a single brief of 25 pages or less their opposition to

10 Plaintiffs’ Cross-Motion for Partial Summary Judgment and their reply in support of Defendants’

11 Motion for Partial Summary Judgment on or before August 2, 2018;

12                 ●      Plaintiffs shall file their reply in support of Cross-Motion for Partial

13 Summary Judgment on or before August 9, 2018;

14                 ●      The hearings on Plaintiffs’ Motion for Class Certification and on the Cross-

15 Motions for Partial Summary Judgment are rescheduled to August 23, 2018, at 8:00 a.m.

16         IT IS SO ORDERED.
           June 19, 2018.
17 Dated: ____________________

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                                               WILLIAM ALSUP
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                                               UNITED STATES DISTRICT JUDGE
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     STIPULATION AND [PROPOSED] ORDER                                          Case No. 3:17-cv-02335-WHA
